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United States District Court aa

SOUTHERN DISTRICT OF TEXAS NOV 2 8 2008

 

 

MCALLEN DIVISION
UNITED STATES OF AMERICA Bichael N. Milby, Clerk of Cour!
v CRIMINAL COMPLAINT
Julio Adrian SALGADO-Melendez Case Number:
A94 924 645 YOB: 1988 M-08-7 303M

United States Citizen

(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about November 27, 2008 in Hidalgo County, in

the Southern District of Texas defendants(s) did,
(Track Statutory Language of Offense)

knowing or in reckless disregard of the fact that Jesus Adrian CERDA-Gonzalez, Victor Hugo HERNANDEZ-
Ibarra and one (1) other citizen and national of the United Mexican States for a total of three (3), who had
entered the United States in violation of law, did knowingly transport, or move or attempts to transport said
aliens in furtherance of such violation of law within the United States, that is, from a location near La Joya,
Texas to the point of arrest near La Joya, Texas.

 

in violation of Title 8 United States Code, Section(s) 1324(a)(1)(A)(ii) FELONY
I further state that I am a(n) U.S. Senior Border Patrol Agent and that this complaint is based on the

following facts:
On November 27, 2008, Supervisory Border Patrol Agents T. Baginski and B. Pachciarz were performing

patrolling duties near La Joya, Texas. At approximately 1119 hours, Agents Baginski and Pachciarz noticed a
green Cadillac Deville traveling north on highway 2221 from La Joya, Texas. They followed the vehicle to get a
closer look at the vehicle and its occupants. As they approached the vehicle, the Agents saw people on the back
seat trying to conceal themselves from their view. The Agents immediately tried to perform a vehicle stop to
conduct an immigration inspection of the occupants. An immigration check revealed that the three passengers
were illegally in the United States and the driver was a United States citizen. One (1) Principal was apprehended
and two (2) of the Undocumented Aliens were held as Material Witnesses. The Material Witnesses made sworn
statements regarding the Principal's involvement in the smuggling scheme.

 

Continued on the attached sheet and made a part of this complaint:

 

Signature of Complaina

 

 

 

Ricardo Rendon Senior Patrol Agent
Sworn to before me and subscribed in my presence, Printed Name of Complainant
November 28, 2009 2 2LILLZS at McAllen, Texas
Date 7 City and State

Peter. E. Ormsby _U. S. Magistrate Judge cette.

Name and Title of Judicial Officer ‘SAgnature of Judicial Officer [

 
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SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:

M-08- -M
RE: Julio Adrian SALGADO-Melendez A94 924 645

CONTINUATION:
Miranda Rights were given to each individual identified below as per Service Form 1-214.

PRINCIPAL STATEMENT:

Julio Adrian SALGADO-Melendez stated he was willing to answer questions and give a sworn
statement without the presence of an attorney. SALGADO stated that the people he had in his car
were his neighbors. He said that he picked them up at their house, who live in Pueblo de Palmas and
Mile 7. He said that they had just made a short trip to La Joya, Texas to change a tire. SALGADO
stated that he did not know, for a fact, if the passengers were here illegally, but that he could tell they
were by their appearance and by the way they dressed and talked. He said that one of them was
sitting in the passenger seat and two in the back seat.

MATERIAL WITNESS STATEMENT:

Material witnesses, Jesus Adrian CERDA-Gonzalez and Victor Hugo HERNANDEZ-Ibarra said that
they are illegally present in the United States. They stated that they were in the same vehicie when
SALGADO-Melendez was pulled over by the U.S. Border Patrol. They said that they know SALGADO
very little and that they live in the same neighborhood. Both Material Witnesses positively identified
SALGADO-Melendez as the driver transporting them from a photo line up.

 
